                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

DON ANDERSON, individually and on             )
behalf of all others similarly situated,      )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )              Case No. 3:12-cv-01046
                                              )
LEGENDS BANK,                                 )
                                              )
       Defendant.                             )


                       STIPULATION OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, in the above-

referenced action, all of Plaintiff’s claims against Defendant are dismissed with prejudice.

       Each party shall bear their own respective costs and fees with respect to this matter.

       Respectfully submitted this 19th day of February, 2013.



                                              /s/ PAMELA L. REEVES
                                              Pamela L. Reeves, Esq. (TN BPR #006643)
                                              Reeves, Herbert & Anderson, P.A.
                                              2607 Kingston Pike, Suite 130
                                              Knoxville, Tennessee 37919
                                              (865) 540-1977
                                              (865) 540-1988 (facsimile)


                                              /s/ DANIEL W. SMALL w/permission
                                              by Pamela L. Reeves
                                              Daniel W. Small, Esq. (TN BPR #006359)
                                              102 Duke Street
                                              Ashland City, Tennessee 37015
                                              615-252-6000
                                              615-252-6001 (facsimile)




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